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                                                                                                  E-FILED
                                                                   Monday, 28 March, 2005 10:52:00 AM
                                                                         Clerk, U.S. District Court, ILCD


                             UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF ILLINOIS
                                    PEORIA DIVISION

UNITED STATES OF AMERICA

       Plaintiff,

v.                                                    No.: 04-10037

SHANE T. WATKINS,

       Defendant.


                      DEFENDANT'S SENTENCING COMMENTARY

       NOW COMES the Defendant, SHANE T. WATKINS and Richard H. Parsons, Chief

Federal Public Defender for the Central District of Illinois, by and through KARL W.

BRYNING, Assistant Federal Public Defender, and hereby files the following Sentencing

Commentary.

       Mr. Watkins requests, the imposition of a sentencing no higher than the 30-years prescribed

by § 841(b)(1)(C), without regard to any mandatory minimums. Mr. Watkins also objects to a

sentencing range higher than 262-327 months, and to any fines and supervised released based

thereon. In support thereof, Mr. Watkins states as follows:

I.     Pursuant to United States v. Booker and United States v. Edwards, Mr. Watkins hereby
       objects to all crack-based sentencing enhancements.

A.     Summary of Argument

       In the case at hand, it is unclear whether the jury found that Mr. Watkins possessed "cocaine

base" or "crack cocaine." The Seventh Circuit ruled that while all crack cocaine is cocaine base, not

all cocaine base is crack cocaine. United States v. Edwards, No. 03-4234, (7th Cir, February 11,

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2005.) The Edwards court remanded the case for re-sentencing pursuant to18 U.S.C.§ 841(b)(1)(C),

because the district court ruled that the drugs in question were cocaine base, and not crack cocaine.

Id. Cocaine base does not trigger the same enhanced penalties required for crack cocaine. Id.

       In the case at bar, ambiguity in the Indictment, and in the Government's proposed jury

instruction, cast doubt upon the verdict. The Seventh Circuit recognized the validity of the Fifth

Circuit's ruling that even where an indictment is phrased in the conjunctive, a subsequent jury

instruction presented in the disjunctive renders the general verdict ambiguous, thereby requiring a

sentence under the section establishing the lesser penalty United States v. Banks, 78 F.3d 1190, 1202

citing United States v. Bounds, 985 F.2d 188 (5th Cir. 1993), cert denied, 510 U.S. 845 (1993).

       Since not all cocaine base is crack cocaine, the terms are not interchangeable. The general

verdict and Indictment utilize this same ambiguous language. Such language is similar to charging

in the disjunctive, in that it implies that a jury can find that the substance was either cocaine base

or crack cocaine, interchangeably.

       The Seventh Circuit recognized that where the indictment charged the defendant with

distributing "methamphetamine/amphetamine, the "/" was equal to an "or," thereby charging in the

disjunctive, and rendering the jury's general verdict ambiguous. The jury improperly was able to

reach its verdict by finding the defendant guilty of either drug. Banks, 78 F.3d 1190, 1202 citing

United States v. Owens, 904 F.2d 411, 414 (8th Cir.1990). Similarly, the jury in the case at hand

could have found that Mr. Watkins possessed cocaine base or crack cocaine due to the ambiguity

in the Indictment, and general verdict. The Illinois State Police Lab Report characterized the drugs

as "cocaine base."




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B.      The Seventh Circuit in Edwards ruled that while all crack cocaine is cocaine base, not
        all cocaine base is crack cocaine

        In Edwards, the Seventh Circuit ruled that where the District Court found that the drugs in

question were cocaine base, and not crack cocaine, enhanced penalties under 18 U.S.C. §

841(b)(1)(B)-(A) could not be applied. Edwards, No. 03-4234. After canvassing the legislative

history of § 841(b), the Court concluded that it was clear that Congress intended the enhanced

penalties to apply to crack cocaine, and the lesser penalties to apply to all other forms of cocaine

base. Id.

        The district court in Edwards refused to accept the testimony of the government's expert, Dr.

James DeFrancesco, that the substances in the defendant's possession were crack cocaine. Dr.

DeFrancesco's opinion was not based upon scientific tests or expert examination, but upon the

definition in the sentencing Guidelines, which reads "'Cocaine base,' for the purposes of this

guideline, means 'crack.' 'Crack' is the street name for a form of cocaine base, usually prepared by

processing cocaine hydrochloride (powder cocaine) and sodium bicarbonate (baking soda) and

usually appearing in a lumpy, rocklike form." U.S.S.D. § 2D1.1(c). Edwards, at 4. The expert

improperly defined all cocaine base as crack cocaine based upon the Guidelines rather than any

scientific principles. Edwards, 294 F.Supp. 954, 958 reversed No. 03-4234.

        Scientifically, not all cocaine base is crack cocaine. Id. Cocaine in its natural state, after

abstraction from coca leaves, is a base. Edwards at 6. Therefore, chemically, "cocaine" and "cocaine

base" are identical. Edwards, at 6. Using sodium carbonate (soda ash) and water, coca leaves are

converted into coca paste. DEA, "Coca Cultivation and Cocaine Processing: An

Overview,"(Strategic Intelligence Section 1Sep93). Coca paste is usually a chunky, off-white to light

brown, putty-like substance that can be smoked. Id. When further refined, coca paste is transformed


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into a harder cocaine base. Id.

        Coca paste generally is converted directly into cocaine hydrochloride (powder cocaine) prior

to entering the United States. Edwards No. 03-4234 at 6. There are at least two ways that powder

cocaine, however, can be converted back to cocaine base by utilizing a process that "frees" the

cocaine base from the hydrochloride. Id. Freebase cocaine is produced by adding ammonia, ether

or another organic solvent. Id. Crack cocaine is produced by adding baking soda and water. Id. Rock

cocaine is also produced by adding baking soda and water, but has a different heating and cooling

process than crack cocaine.

C.      The evidence does not support a finding that the drugs in question were crack cocaine

        (1) the lab report indicated that the drugs were "cocaine base;"(2) there was no evidence that

Mr. Watkins manufactured the drugs; and (3) there was no evidence that the officer's field test could

distinguish crack cocaine from other forms of cocaine base.

        While the Officers indicated that Mr. Watkins admitted to them that he had possessed

controlled substances, there was no information presented about Mr. Watkins manufacturing crack

cocaine, or having a basis of knowledge to distinguish crack cocaine from other forms of cocaine

base.

D.      A crack-based statutory enhancement cannot be found to have been proven to a jury
        beyond a reasonable doubt, where there was ambiguity in the Indictment and General
        Verdict

        Mr. Watkins cannot be subjected to a crack-based statutorily enhanced sentence where the

drug type was not clearly proven to a jury beyond a reasonable doubt. United States v. Knight, 342

F.3d 697, 710 (7th Cir. 2003) citing United States v. Nance, 236 F.3d 820, 824-25 (7th Cir.2000).

Anything less would violate Mr. Watkins' constitutional rights under the Fifth Amendment Due

Process Clause and the Sixth Amendment's Notice and Jury Trial guarantee.

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       The Seventh Circuit has noted that where the district court instructs the jury in the

disjunctive, the court must apply the least severe penalty. Banks, 78 F.3d at 1202. The Court in

Banks provides a comprehensive review of circuit case law where the jury was instructed in the

disjunctive. Id. When an indictment is phrased in the disjunctive (e.g. a defendant is charged with

conspiracy to distribute methamphetamine or amphetamine) it is generally held that a general verdict

based upon the indictment is ambiguous. Id. citing Owens, 904 F.2d at 414 (indictment that charged

the defendant with conspiring to distribute "methamphetamine/amphetamine,"meant that the

defendant had been charged and convicted of conspiracy to distribute either methamphetamine or

amphetamine. This construction rendered the jury's general verdict ambiguous because the jury was

able to reach its verdict by finding the defendant guilty of conspiring to distribute either drug.)

       In Owens, the sentence based upon the methamphetamine was vacated, and the court

withheld judgment on the defendant's conspiracy conviction for thirty days, giving the government

the option of consenting to a new sentence based upon the amphetamine charge. Id. If the

government did not consent, the court held that the defendant's conviction would be vacated and it

would remand the matter for a new trial. Id. at 415.

       The Seventh Circuit recognized that other circuits that have considered indictments phrased

in the disjunctive, have reached the same result as the Eight Circuit. Banks, 78 F.3d at 1202 citing,

e.g., United States v. Bush, 70 F.3d 557 (10th Cir.1995) (defendant's indictment for distribution of

"cocaine (powder) and/or cocaine base (crack)" held to be ambiguous), cert. denied, 516 U.S. 1082

(1996); United States v. Garcia, 37 F.3d 1359, 1370 (9th Cir.1994) ("Garcia's jury was charged with

determining whether he was guilty of conspiring to commit the narcotics charges or whether he was

guilty of conspiring to use communications facilities to facilitate the commission of drug offenses."),

cert. denied, 514 U.S. 1067 (1995); United States v. Baker, 16 F.3d 854 (8th Cir.1994) (verdict

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convicting defendant of violating 21 U.S.C. § 856 by making house available "for the purpose of

distributing or using a controlled substance" held to be ambiguous and could not serve as basis for

career offender sentencing); United States v. Pace, 981 F.2d 1123 (10th Cir.1992) (possession with

intent to distribute "methamphetamine/amphetamine," held to be ambiguous; sentence based on

methamphetamine vacated for new trial or for re-sentencing based on amphetamine); United States

v. Quicksey, 525 F.2d 337 (4th Cir.1975) (jury allowed to convict for either a general conspiracy or

a narcotics conspiracy, and not required to return a special verdict; sentenced based upon narcotics

conspiracy vacated).

       Finally, the Seventh Circuit acknowledged that other courts, such as the Fifth Circuit in

Bounds, have been faced with a slightly different situation, in which the indictment was phrased in

the conjunctive, yet a subsequent jury instruction was presented in the disjunctive. Banks, 78 F.3d

at 1202 citing Bounds, 985 F.2d 188. In Bounds, the indictment charged the defendant with

conspiracy to manufacture "amphetamine and phenylacetone," but the jury was subsequently

instructed that the conspiracy involved "phenylacetone or amphetamine." The Fifth Circuit

determined that the jury instruction rendered the general verdict ambiguous, and the sentence based

upon the more serious of the two drugs could not stand. Cf. United States v. Cooper, 966 F.2d 936

(5th Cir.1992) (indictment alleged two objects of conspiracy in the conjunctive, but jury was

instructed that only one object was necessary for a guilty verdict), cert. denied, 506 U.S. 980 (1992).

III.   Conclusion

       Mr. Watkins cannot be sentenced under § 841(b)(1)(A)-(B) where it is unclear whether the

jury found that he possessed "cocaine base" or "crack cocaine;" and the Government did not prove

beyond a reasonable doubt that the substance involved was crack cocaine base as opposed to another

form of cocaine base.

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       The amount of cocaine base in the case at hand totals 54.7 grams, thereby requiring

sentencing under § 841 (C), providing a maximum penalty of 30-years after prior felony drug

conviction. The sentencing guidelines, including chapter four career offender enhancement,

produces a discretionary 262-327 month range.

                                   Respectfully Submitted,

                                   SHANE T. WATKINS

                                   RICHARD H. PARSONS
                                   Federal Public Defender


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                                  CERTIFICATE OF SERVICE

        I hereby certify that on March 28, 2005, I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system which will send notification of such filing to the following:
Mr. Bradley Murphy, Assistant United States Attorney, One Technology Plaza, 211 Fulton Street,
Suite 400, Peoria, Illinois 61602.


                                              s/ Karl W. Bryning

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